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                             EXHIBIT B




                             EXHIBIT B
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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


                                                     Civil Action No. 3:14-CV-05358
  Channel Methods Partners, LLC,
  a New Jersey limited liability company

                              Plaintiff,
                                                     DECLARATION OF MARITZA
  v.                                                 DOMINGUEZ BRASWELL

  Pharmatech, Inc.,
  a Colorado corporation

                              Defendant.


        Maritza Dominguez Braswell, of full age, hereby declares under penalty of

  perjury that:

        1.        I am an attorney at law of the State of New Jersey and a member of

  the law firm Jones & Keller, PC, counsel to Defendant Pharmatech, Inc.

  (“Pharmatech” or “Defendant”).

        2.        I am involved in the defense of this matter and am fully familiar with

  its facts and procedural history. I submit this declaration in support of

  Pharmatech’s Brief in Support of Motion to Dismiss or in the Alternative for a

  More Definite Statement and to Transfer Venue.
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        3.     Filed contemporaneously with the Brief in Support of Motion, as

  Exhibit C, is a true and accurate copy of the Contract at issue in the above-

  captioned litigation.

        4.     Pharmatech respectfully requests that the Court grant its Motion in its

  entirety as argued more fully in the Brief in Support of the Motion filed

  contemporaneously herewith.

        I hereby declare that the foregoing statements made by me are true, upon the

  best of my information and belief. I am aware that if any of the foregoing

  statements made by me are willfully false, I am subject to punishment.


        Further Declarant sayeth naught.


        Dated: September 2, 2014.

                                                /s Maritza Dominguez Braswell
                                                Maritza Dominguez Braswell
                                                NJ Attorney ID: 016222008
                                                Jones & Keller, P.C.
                                                1999 Broadway, Suite 3150
                                                Denver, CO 80202
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                                                (303) 573-1600
                                                Attorney for Defendant Pharmatech,
                                                Inc.




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